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     Attorneys for Plaintiffs and the Proposed Class and Collective
15

16                           UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF CALIFORNIA
17

18   COMMUNICATIONS WORKERS OF                           Case No. 17-cv-07232-BLF
     AMERICA, MAURICE ANSCOMBE, LURA
19   CALLAHAN, RICHARD HAYNIE, and others                NOTICE OF VOLUNTARY
                                                         DISMISSAL
     similarly situated,
20
                                                         Date:         N/A
21                  Plaintiffs,                          Time:         N/A
             v.                                          Courtroom:    3, 5th Floor
22                                                       Judge:        Hon. Beth Labson Freeman
     T-MOBILE US, INC., and AMAZON.COM,
23   INC.,
24                  Defendants.
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                                                                      NOTICE OF VOLUNTARY DISMISSAL  XX
                                                                                  CASE NO. 17 Civ. 07232
 1                             NOTICE OF VOLUNTARY DISMISSAL

 2          Plaintiffs, by and through their attorneys, give notice that Plaintiffs hereby voluntarily

 3 dismiss this action with prejudice pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of Civil

 4 Procedure.

 5          As Defendants have filed neither an answer nor a motion for summary judgment in this

 6 action, this dismissal is effective without a court order. Fed. R. Civ. P. 41(a)(1)(A).

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 8   Dated: January 6, 2021                             Respectfully submitted,
 9
                                                        /s/ Peter Romer-Friedman
10                                                      Peter Romer-Friedman (pro hac vice)
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                       NOTICE OF VOLUNTARY DISMISSAL
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